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                                                          August 20, 2021

    The Honorable Michael A. Hammer
    U.S.M.J for the District of New Jersey
    Martin Luther King Bldg. & US Courthouse
    50 Walnut Street, Courtroom 2C
    Newark, NJ. 07101

                       Re:    Evans v. Newark, et al., 14 CV 120

    Dear Judge Hammer:

            In light of today’s status hearing, Plaintiff reluctantly acquiesces to
    foregoing Senator Booker’s deposition and has agreed to the City’s proposal
    as it relates to the scope of the 30(b)(6) deposition. As such, Plaintiff
    respectfully asks this Court to enter an order closing fact discovery after the
    conclusion of the 30(b)(6) depositions.

           Plaintiff’s dispute with the City on these topics has been pending
    before this Court for well over a year. Plaintiff respectfully disagrees that he
    has failed to make a good faith effort to meet and confer with opposing
    counsel on these issues. Indeed, Plaintiff and opposing counsel have
    participated in numerous telephone conferences and have exchanged
    numerous email and letter communications on the subject matters. For his
    part, Plaintiff has made several concessions, including agreeing to limit
    Defendant Booker’s deposition to a single hour and agreeing to limit the
    scope of time covered by the 30(b)(6) topics. Plaintiff has set out his position
    on these discovery disputes in formal motion papers (that this Court struck)
    and in status reports, letters and orally. Plaintiff had hoped that this Court
    would have sufficient information on which to rule on these matters.

           Unfortunately, the amount of delay that will be occasioned by
    additional briefing as to the Booker matter, and the possibility of the Court
    appointing a special master to resolve the parties’ dispute as to the scope of
    the 30(b)(6) depositions is far more prejudicial to Plaintiff than is being
    denied the opportunity to depose Defendant Booker or being limited in the
    scope of his 30(b)(6) depositions. As such, Plaintiff simply acquiesces and
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    hopes that with the resolution of these issues, this nearly seven-year old case
    can proceed expeditiously to final resolution.


                                                  Respectfully Submitted,


                                                  /s/JENNIFER BONJEAN

    cc: All parties via ECF
